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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JOHN DOE,                                             No. 4:17-CV-01315

               Plaintiff.                             (Judge Brann)

       v.

THE PENNSYLVANIA STATE
UNIVERSITY, et al.,

              Defendants.


                                        ORDER

                                  DECEMBER 28, 2017

  1.        On August 31, 2017, Defendants moved to dismiss Plaintiff’s Complaint.

            ECF No. 50.

  2.        Oral argument on this motion was subsequently scheduled for January 5,

            2018. ECF No. 72.

  3.        After considering the Parties’ papers on this matter, the Court has

            determined that oral argument will be neither beneficial nor necessary.

  4.        Therefore, the oral argument is CANCELLED.


                                            BY THE COURT:

                                            s/ Matthew W. Brann
                                            Matthew W. Brann
                                            United States District Judge
